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                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

LANITRA JETER,                       )
                                     )
            Plaintiff,               )
                                     )
v.                                   ) Case No. 2:20-CV-01863-ACA
                                     )
DANNY CARR, in his official          )
capacity as District Attorney        )
of Jefferson County,                 )
                                     )
            Defendant.               )

           DEFENDANT’S REPLY BRIEF IN SUPPORT OF
            THE MOTION FOR SUMMARY JUDGMENT

      COMES NOW Defendant Danny Carr, in his official capacity as

Jefferson County District Attorney (“DA Carr”), and files this reply to

Plaintiff Lanitra Jeter’s (“Ms. Jeter”) Memorandum Brief in Opposition to

the Motion for Summary Judgment (“Opposition Brief”) [Doc. 83].

I.    Response to Plaintiff’s Additional Undisputed Facts

      5.    Admitted, but Judy Yates and Cheryl Black were the only

victim service officers (“VSOs”) for almost 20 years before Ms. Jeter and

others were hired in 2019. Ex. A [Doc. 78-1] at 24:14–25:9, 29:6-12. Only

four African Americans have applied to be a VSO (all since 2019), and Judy

Yates has hired two of them. Id. at 25:11–26:16, 29:6-12.




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      8.    Admitted, but DA Carr left the final hiring decision to Judy

Yates for the 2020 hires. Ex. A [Doc. 78-1] at 28:5–29:15, 32:7-20.

      9.    Admitted VSOs could earn comp time with permission, but

denied comp time allowed VSOs “to gain the flexibility to take additional

time out of the office day for personal use” because the cited testimony does

not say or suggest that. Ex. D [Doc. 78-4] at 70:11–71:8.

      10.   Admitted, but the cited testimony refers to accrued comp time.

      11.   Partially denied: there was a discretionary element to allowing

an employee to use accrued comp time. Ex. A [Doc. 78-1] at 151:17–152:9.

      12.   Partially denied: Judy Yates encouraged new VSOs to start

earning comp time when they started. Ex. A [Doc. 78-1] at 149:14–150:22.

      14.   Admitted, but she also used comp time for her husband’s

medical issues and to attend a mediation that did not actually occur. Ex. C

[Doc. 78-3] at 57:6-12 and at plaintiff’s exhibit 1 thereto at DA 0085, DA

0318, and DA 0319; Ex. G [Doc. 78-8] at ¶ 18; Ex. I [Doc. 78-10].

      15.   Partially denied: Ms. Jeter does not cite any evidence regarding

her FMLA eligibility. See Initial Order [Doc. 33] at p. 18.

      17.   Partially denied: Michael McCurry noticed Ms. Jeter’s routine

use of leave by late summer of 2019 and had been telling Judy Yates for




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several months that something needed to be done about it. Ex. A. [Doc. 78-

1] at 178:15-23; Ex. G [Doc. 78-8] at ¶ 9.

      19.   Partially denied: Ms. Jeter did not say her comp time use was

“primarily” due to doctors’ visits or that VSOs “regularly” used comp time

for hairstyling appointments. Ex. C [Doc. 78-3] at 46:1-11, 57:6—58:12.

      20.   Partially denied:   Ms. Jeter said she mentioned race in the

meeting, but said she called the meeting to get an explanation and tell them

why she was using her comp time. Ex. C [Doc. 78-3] at 57:4-10, 58:13-23.

      23.   Partially denied: she did not say she mentioned Judy Yates or

Micheal McCurry in the meeting. Ex. C [Doc. 78-3] at 32:10-23, 34:2-14.

      24.   Denied as stated. DA Carr assumed, for summary judgment

purposes, that the meeting occurred. Summary Judgment Brief [Doc. 79] at

p. 15 n.3. DA Carr did not mention “his practice;” he testified about what a

“higher-up” should do if notified by an employee that a specific supervisor

has discriminated against the employee. Ex. D [Doc. 78-4] at 82:9–83:10.

      25.   Denied as stated. Michael McCurry told Ms. Jeter to talk to

Judy Yates about earning comp time again, and Ms. Jeter then initiated a

conversation with Judy Yates about it on November 12. Ex. C [Doc. 78-3]

at 62:2–63:17. Judy Yates had to give permission to clock-in before 7:30

AM, and a VSO had permission if her time sheet shows she clocked-in early.



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Ex. J [Doc. 78-11] at ¶ 3. For the rest of her employment, Ms. Jeter

clocked-in early more than any other VSO and earned more comp time than

any VSO other than Elise Driskill. Ex. G [Doc. 78-8] at ¶¶ 24-25, 30-32.

      26.    Partially denied: Ms. Jeter does not cite any evidence for the

statement about her belief about the fairness of the alleged “continuing

restrictions on her use of comp time[.]” See Initial Order [Doc. 33] at p. 18.

      27.    Partially denied:    Joe Roberts’ emailed response does not

mention coming to him as “a last resort.” Ex. E [Doc. 78-6] at 49:2-17.

      29.    Admitted, and Judy Yates did a September 20, 2019 memo to

file about the VSO training Ms. Jeter was not allowed to attend. See Ex. C

[Doc. 78-3] at plaintiff’s exhibit 1 thereto at DA 0082. Between November

12 and November 21, Judy Yates allowed Ms. Jeter to clock-in before 7:30

AM once and Ms. Jeter had earned 5.25 hours of comp time. Ex. G [Doc.

78-8] at ¶ 25 and at DA 0128 attached thereto; Ex. J [Doc. 78-11] at ¶ 3.

      30.    Admitted that Judy Yates wrote memos to file about Ms. Jeter

after November 12, but the cited testimony does not say the majority were

after that time.   See Ex. A [Doc. 78-1] at 171:17-172:4.          Judy Yates

maintained files on all VSOs. Id. at 194:20–195:14.

      32.    Partially denied: all VSOs, including Ms. Jeter, had to have

permission to clock-in before 7:30 AM. Ex. J [Doc. 78-11] at ¶ 3. Between



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November 12 and January 8 (i.e., the day before the cited memo), Judy

Yates allowed Ms. Jeter to clock-in early 7 times. Ex. G [Doc. 78-8] at ¶ 25.

      35.    Partially denied: the COVID-19 staffing plan was to minimize

staff physically present in the office at any one time by using rotating small

groups of employees, only one VSO would be physically present in the

office at any one time, and the identity of that VSO would change day-to-

day. Ex. D [Doc. 78-4] at 237:7–239:1; Ex. E [Doc. 78-6] at 67:13–68:7.

      36.    Partially denied: the position was not eliminated because new

VSOs were hired later in 2020. Ex. A [Doc. 78-1] at 27:14–28:9.

      37.    Partially denied: the memo does not date the absences. See Ex.

D [Doc. 78-4] at exhibit 7 thereto. From November 12 until her termination,

Ms. Jeter was the only VSO who exhausted all her available vacation and

sick leave and almost all her accrued comp time. Ex. G [Doc. 78-8] at ¶ 37.

      38.    Partially denied:    Ms.       Jeter’s   lack   of   credibility was

substantiated. See Ex. A [Doc. 78-1] at 121:1–122:9 and at exhibit 23

thereto; Ex. C [Doc. 78-3] at plaintiff’s exhibit 1 thereto at DA 0318, DA

0319; Ex. D [Doc. 78-4] at exhibit 3 thereto; Ex. G [Doc. 78-8] at ¶ 18.

      39.    Admitted, but Joe Roberts asked for the memo because he and

DA Carr had had conversations about the ongoing issues with Ms. Jeter and




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he wanted to have something to refer to and have specific discussions

regarding termination. Ex. E [Doc. 78-6] at 69:4-18.

       42.   Partially denied: the cited testimony does not say what “actual

attendance records” show. See Ex. A [Doc. 78-1] at 209:9–210:10. For the

first six months of employment and from November 12 until her

termination, Ms. Jeter was the only VSO to exhaust all vacation and sick

leave and almost all accrued comp time. Ex. G [Doc. 78-8] at ¶¶ 15-17, 37.

       43.   Partially denied: from November 12 until her termination, Ms.

Jeter was the only VSO to exhaust all her vacation and sick leave and almost

all her accrued comp time. Ex. G [Doc. 78-8] at ¶ 37.

       44.   Denied. Joe Roberts could not tell the dates of the incidents by

looking at the memo, did not recall Judy Yates telling him any event had

“just happened” relative to March of 2020, and did not testify about what

DA Carr believed. See Ex. E [Doc. 78-6] at 95:16–96:4.

II.    Ms. Jeter has abandoned most of her claims.

       Ms. Jeter previously claimed she suffered racial discrimination and

was retaliated against in ways other than termination.      See Third Am.

Compl. [Doc. 61]; Ex. B [Doc. 78-2] at Resp. Nos. 6, 9. She now abandons

all of her claims other than retaliatory termination. Opposition Brief [Doc.




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83] at p. 18 n.1. She also does not dispute DA Carr’s Eleventh Amendment

immunity to her § 1981 claims. See generally Opposition Brief [Doc. 83].

III.    No causal connection between the DA Carr meeting and the
        termination.

        Given the five month gap between Ms. Jeter’s November 12 meeting

with DA Carr and her termination in March, Ms. Jeter argues that the

COVID-19 staffing plan in March was the first opportunity to retaliate. That

ignores that the issues with Ms. Jeter’s employment continued after the

November meeting and up until March. It also ignores that it was usual for

an employee to have issues that persist for a while before DA Carr would

decide to terminate. See Ex. E [Doc. 78-6] at 98:18–100:1.

IV.     Ms. Jeter has not shown pretext.

        Ms. Jeter argues that DA Carr denied meeting with Ms. Jeter, which

calls into question his explanation for why she was terminated. That ignores

that DA Carr assumed the meeting occurred for summary judgment

purposes. There is no dispute of fact about whether the meeting occurred or

competing positions on whether the meeting occurred.

        Ms. Jeter also questions Judy Yates’ credibility about whether she

knew about Ms. Jeter’s meeting with DA Carr. Judy Yates testified she was

not aware of the meeting, which Ms. Jeter admits is “unrebutted by

testimonial evidence[.]” Opposition Brief [Doc. 83] at 24. Evidence Judy

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Yates could have been told about the meeting is not the same as evidence

she was told. Martin v. Fin. Asset Mgmt. Sys., 959 F.3d 1048, 1054 (11th

Cir. 2020). Ms. Jeter argues Judy Yates is not credible because Ms. Jeter’s

ability to earn comp time was restored on November 12, the same day as the

meeting. Ms. Jeter testified Michael McCurry told her to talk to Judy Yates

about earning comp time again, and that she then initiated a conversation

with Judy Yates on November 12 about earning comp time. Ex. C [Doc. 78-

3] at 62:2–63:17. Ms. Jeter resumed earning comp time after she asked Judy

Yates about it; not the other way around. There is no evidence Judy Yates

knew about Ms. Jeter’s meeting with DA Carr, and Ms. Jeter cannot create a

dispute of fact by contradicting her own statements on the record. Bailey v.

Metro Ambulance Servs., 992 F.3d 1265, 1279 (11th Cir. 2021).

      Ms. Jeter argues Judy Yates had reason to think Ms. Jeter’s November

21 email to Joe Roberts referred to Ms. Jeter’s complaints of racial bias. Ms.

Jeter never specified what was she was complaining about in the email and

never spoke to Judy Yates about that complaint (or otherwise complained to

Judy Yates about comp time) after she sent Joe Roberts the email (even after

telling Joe Roberts she would). Ex. A [Doc. 78-1] at 42:20–43:3, 45:1-8;

Ex. C [Doc. 78-3] at 71:3-11; Ex. E [Doc. 78-6] at exhibit 26 thereto. There

is no evidence Judy Yates connected Ms. Jeter’s email to comp time: she



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speculated it might be about not getting to attend VSO training back in

September of 2019, which Judy Yates had documented at the time. See Ex.

C [Doc. 78-3] at plaintiff’s exhibit 1 thereto at DA 0082; Ex. D [Doc. 78-4]

at exhibit 5 thereto. That is why Judy Yates had documented training

opportunities made available to Ms. Jeter since September. See Ex. A [Doc.

78-1] at exhibits 24 and 25 thereto; Ex. D [Doc. 78-4] at exhibit 5 thereto.

      Ms. Jeter argues the statements about Ms. Jeter abusing time in the

March 13, 2020 memorandum are contradicted by attendance records after

November 12. Actually, those records confirm that from November 12 until

her termination, Ms. Jeter was the only VSO who exhausted all her available

vacation and sick leave and almost all her accrued comp time. Ex. G [Doc.

78-8] at ¶ 37. That continued Ms. Jeter’s trend of exhausting leave seen

during the first six months of her employment. Id. at ¶ 15.

      Ms. Jeter argues DA Carr gave shifting explanations for why Ms.

Jeter was terminated because he did not mention the COVID-19 staffing

plan until near the end of his deposition. DA Carr anticipated a question

about anything he considered other than the items in the March 13, 2020

memorandum when making the termination decision, at which point he

would have talked about the COVID-19 staffing plan factoring into his

decision. Ex. D [Doc. 78-4] at 244:8-22, 246:14-21, 248:11-19. DA Carr



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did not get that question on direct. Id. at 246:14-21, 248:11-19. Ms. Jeter

also says DA Carr omitted mentioning COVID-19 staffing in his initial

disclosures and written discovery responses, neither of which Ms. Jeter

submits as evidence. The initial disclosures do not contain any explanation

for why Ms. Jeter was terminated, and the supplemental response to Ms.

Jeter’s Interrogatory 20 specifically mentions the COVID-19 staffing plan as

a factor for why Ms. Jeter was terminated.

       Finally, Ms. Jeter cannot avoid summary judgment using the mosaic

theory. 1 Some of her purported mosaic evidence (i.e., that the grounds for

termination were inaccurate, credibility issues, and the age of some of Ms.

Jeter’s employment problems) is addressed above. As to Ms. Jeter’s other

mosaic evidence, Judy Yates kept files on all VSOs, not just Ms. Jeter. Ex.

A [Doc. 78-1] at 194:20–195:14. Ms. Jeter was the only VSO terminated in

the COVID-19 staffing plan because no one else presented the potential

problems that an unsupervised Ms. Jeter posed if she were the only VSO in

the office. Ex. D [Doc. 78-4] at 244:8-22, 250:23–251:5.

       DA Carr is entitled to summary judgment on Ms. Jeter’s retaliatory

termination claim and all her now-abandoned claims.

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       See Berry v. Crestwood Healthcare L.P., 2021 U.S. Dist. LEXIS 236848, *23 n.1
(N.D. Ala. 2021) (“The Eleventh Circuit has not in binding precedent decided whether a
convincing mosaic of circumstantial evidence of retaliation can defeat summary
judgment on a Title VII retaliation claim.”).


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                                Respectfully submitted,



                                /s/ James E. Murrill, Jr.
                                Robert R. Riley, Jr. (ASB-0909-168A)
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                     CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2022, a copy of the foregoing was
electronically filed with the Clerk of the Court using the Pacer system,
which sends notification of such filing to the following counsel of record in
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